                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN



ESTATE OF THE UNBORN CHILD
OF JENNIFER JAWSON, et al,
               Plaintiffs,

       v.                                                Case No. 19-CV-1008

ARMOR CORRECTIONAL
HEALTH SERVICES INC, et al.,
              Defendants.


                                          ORDER


       IT IS ORDERED that a telephonic status conference is scheduled for February

21, 2024 at 10:30 a.m. Central Time. The parties shall call the Court’s conference line

at 669-254-5252 and use Meeting ID 161 8470 1401 and Passcode 187773 to join the

call and may be placed on hold until the Court accesses the call. Parties should call in

prior to the time that the hearing is scheduled to begin so that there is no disruption to

the court proceeding. Counsel should email the court prior to the call at

AdelmanPO@wied.uscourts.gov to provide the names and contact numbers of

attorneys appearing in the event that the Court would need to contact them.

       Dated at Milwaukee, Wisconsin, this 20th day of February, 2024.


                                                 /s/ Lynn Adelman
                                                 LYNN ADELMAN
                                                 District Judge




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